
360 S.E.2d 92 (1987)
320 N.C. 639
OLIVETTI CORPORATION
v.
AMES BUSINESS SYSTEMS, INC.
No. 418PA86.
Supreme Court of North Carolina.
September 3, 1987.
Poyner &amp; Spruill, Raleigh, and Weinstein, Sturges, Odom, Groves, Bigger, Jonas &amp; Campbell, Charlotte, for plaintiff.
Joe C. Young, Charlotte, for defendant.
John F. Maddrey, Asst. Atty. Gen., Raleigh, for the State.

ORDER
Upon consideration of the petition filed by Defendant in this matter for rehearing of the decision of this Court pursuant to Rule 31, N.C. Rules of Appellate Procedure, the following order was entered and is hereby certified to the North Carolina Court of Appeals:
"Denied by order of the Court in conference, this the 3rd day of September 1987."
